      Case 2:20-cv-04759-CMR Document 11 Filed 02/12/21 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 RICHARD A. GORMAN,                          CIVIL ACTION

                 Plaintiff,

           v.
                                             NO.   20-4759
 ILYA SHPETRIK, OLEG SHPETRIK,
 ANNA SHPETRIK and MARK
 SHPETRIK,

                 Defendants.

                                O R D E R


     AND NOW, this    12th     day of   February        , 2021, upon

consideration of the Motion of Matthew Faranda-Diedrich, Esquire

for the Admission Pro Hac Vice of Matthew J. Press, Esquire (Doc.

No. 10), and it appearing to the Court that the said Matthew J.

Press is a member in good standing of the Bar of the State of New

York, it is hereby ORDERED that the Motion is GRANTED and Matthew

J. Press, Esquire is admitted to practice Pro Hac Vice before

this Court as co-counsel with Matthew Faranda-Diedrich, Esquire

on behalf of the Defendant, Ilya Shpetrik, for purposes of this

action only in accordance with Local Rule of Civil Procedure

83.5.2.

                                        BY THE COURT:

                                        s/ J. Curtis Joyner

                                        J. CURTIS JOYNER, J.
